Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.159 Filed 04/20/21 Page 1 of 18




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN

TOMMIE SEYMORE,

      Plaintiff,                         Case No: 2:16-cv-13808

vs.                                      Hon. Arthur J.Tarnow

MICHAEL FARMER,                          MJ: Morris, Patricia T.

      Defendant.

 Collins Einhorn Farrell PC         Michigan Department of Attorney General
 Trent B. Collier (P66448)          Corrections Division
 Kari l. Melkonian (P72012)         Allan J. Soros (P43702)
 Attorneys for Plaintiff            Austin C. Raines (P82583)
 4000 Town Center, 9th Floor        Attorney for Defendant
 Southfield, MI 48075               PO Box 30736
 (248) 355-4141                     525 W Ottawa St.
 Trent.Collier@CEFLawyers.com       Lansing, MI 48909
 Kari.Melkonian@CEFLawyers.com      (517) 335-7106
                                    SorosA@michigan.gov

      Plaintiff Tommie Seymore’s Motion in Limine to Allow
      Evidence Relevant to Emotional and Punitive Damages

      Plaintiff Tommie Seymore moves this Court for entry of an order

permitting the introduction of evidence regarding his emotional injuries and

evidence concerning the appropriate measure of punitive damages. This

evidence is relevant when assessing compensation for Seymore’s
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.160 Filed 04/20/21 Page 2 of 18




constitutional injury under the First Amendment. In support of this motion,

Seymore relies on the attached brief.

      Seymore sought Farmer’s concurrence in this motion on February 16,

2021 and March 23, 2021 by sending emails to Farmer’s attorney. See L.R.

7.1. Farmer’s attorney did not respond to either email.

                                   Respectfully submitted,

                                   Collins Einhorn Farrell PC

                                   By: /s/Trent B. Collier
                                   Trent B. Collier (P66448)
                                   Kari l. Melkonian (P72012)
                                   Attorneys for Plaintiff
                                   4000 Town Center, 9th Floor
                                   Southfield, MI 48075
                                   (248) 355-4141
                                   Trent.Collier@CEFLawyers.com
Dated: April 20, 2021              Kari.Melkonian@CEFLawyers.com
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.161 Filed 04/20/21 Page 3 of 18




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      Plaintiff,                         Case No: 2:16-cv-13808

vs.                                      Hon. Arthur J.Tarnow

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 4000 Town Center, 9th Floor       Attorney for Defendant
 Southfield, MI 48075              PO Box 30736
 (248) 355-4141                    525 W Ottawa St.
 Trent.Collier@CEFLawyers.com      Lansing, MI 48909
 Kari.Melkonian@CEFLawyers.com     (517) 335-7106
                                   SorosA@michigan.gov

         Brief in Support of Plaintiff Tommie Seymore’s
         Motion in Limine to Allow Evidence Relevant to
                 Emotional and Punitive Damages
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.162 Filed 04/20/21 Page 4 of 18




                                             Table of Contents
Index of Authorities .................................................................................................. ii

Statement of Issue Presented ................................................................................... iii

Introduction ...............................................................................................................1

Relevant Facts ............................................................................................................2

Standard of Review ....................................................................................................3

Argument ...................................................................................................................4

   1. Under section 1997e, plaintiffs may seek compensatory and punitive
   damages for constitutional injuries...................................................................4

   2. Applying § 1997e(e) to prevent prisoners from seeking redress for
   purely constitutional injuries is unconstitutional ...........................................7

   3. Evidence relating to Seymore’s emotional and punitive damages are
   relevant and admissible under Fed. R. Evid. 402 ...........................................9

Conclusion ...............................................................................................................11

CERTIFICATE OF SERVICE ................................................................................12




                                                              i
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.163 Filed 04/20/21 Page 5 of 18




                                            Index of Authorities
Cases

Branham v. Thomas M. Cooley Law School, 689 F.3d 558 (6th Cir. 2012) ............3

Johnson v. Howard, 24 Fed. Appx. 480 (6th Cir. 2001) .................................. 5, 10

King v. Zamiara, 788 F.3d 207 (6th Cir. 2015) ............................................ passim

Lewis v. Casey, 518 U.S. 343, 116 S. Ct. 2174 (1996) .............................................7

Mee v. Johnson, No. 19-12325,
2020 WL 1551139 (E.D. Mich. April 1, 2020) .......................................................5

Percival v. Rowley, 2005 WL 2572034
(W.D. Mich. 2005) (unpublished) (Enslen, J.)......................................................8

Piver v. Pender Cnty. Bd. of Educ., 835 F.2d 1076 (4th Cir. 1987) ........................5

Siggers-El v. Barlow, 412 F.3d 693 (6th Cir. 2005) ................................. 6, 8, 9, 10

Small v. Brock, 963 F.3d 539 (6th Cir. 2020) ......................................................5, 6

State Farm v. Campbell, 538 U.S. 408 (1996) ................................................. 10, 11

Thaddeus-X v. Blatter, 175 F.3d 378 (6th Cir. 1999) ..............................................7

Statutes

42 U.S.C. § 1983.................................................................................................. iii, 3

42 U.S.C. § 1997e(e) ...................................................................................... passim

Rules

Fed. R. Evid. 402 ............................................................................................... 9, 11

L.R. 7.1 .......................................................................................................................2



                                                               ii
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.164 Filed 04/20/21 Page 6 of 18




                     Statement of Issue Presented
   I.    The Prison Litigation Reform Act bars prisoners from bringing civil
         actions for purely emotional or mental injury, absent evidence of
         physical harm. Here, the prisoner-plaintiff suffered a constitutional
         harm, but no physical harm. With these facts, does 42 U.S.C. § 1983
         allow a jury to consider evidence concerning the prisoner-plaintiff’s
         emotional injuries and evidence concerning damages?
            Plaintiff answers:                              Yes.

            Defendant presumably answers:                   No.

            This Court should answer:                       Yes.




                                      iii
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.165 Filed 04/20/21 Page 7 of 18




                               Introduction
      Plaintiff Tommie Seymore seeks to introduce evidence concerning the

constitutional injury he suffered because of defendant Michael Farmer’s

wrongful conduct. His damages for this constitutional injury should include

both compensatory damages—including emotional damages—and punitive

damages. Accordingly, this motion seeks a ruling that Seymore may

introduce evidence concerning his emotional distress and evidence relevant

to the appropriate measure of punitive damages (such as Farmer’s state of

mind).

      The Prison Litigation Reform Act bars prisoners from bringing civil

actions for mental or emotional injury without showing physical injury. 42

U.S.C. § 1997e(e). But Seymore suffered a constitutional injury. The Act does

not preclude suit for constitutional harms. King v. Zamiara, 788 F.3d 207, 213-

214 (6th Cir. 2015). And the Sixth Circuit Court of Appeals has held that a

party who suffered a constitutional injury may seek both compensatory and

punitive damages.

      Accordingly, this Court should enter an order allowing evidence

relevant to emotional and punitive damages, subject to any objections

Farmer may choose to raise at trial.

                                       1
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.166 Filed 04/20/21 Page 8 of 18




                               Relevant Facts
      Tommie Seymore is a prisoner at the G. Robert Cotton Correctional

Facility in Jackson, Michigan. (Verified Complaint, ECF No. 1, PageID.1). On

December 4, 2015, Seymore was involved in an incident with defendant

Michael Farmer, a prison guard. Farmer became verbally abusive and

threatened Seymore. (Id.) In response, Seymore attempted to seek

supervisory staff and lodge a complaint against Farmer. (Id.) He also wanted

to preserve security footage of the incident. (Id.)

      Less than 90 minutes after Seymore sought a supervisor, Farmer had

Seymore placed in segregation—also known as solitary confinement—on a

charge of “Threatening Behavior.” (Verified Complaint, ECF No. 1, PageID.2).

That same day, Farmer boasted to other prisoners, “I tossed Seymore in

segregation because he wanted to speak to my supervisor, that’s what

happens.” (Id.) Because of Farmer’s false claim, Seymore remained in the

segregation unit for eleven days.

      On December 15, 2015, a hearing officer cleared Seymore of Farmer’s

false Threatening Behavior charge. (Verified Complaint, ECF No. 1, PageID.2).

The hearing officer reviewed security footage and determined that Seymore

never approached Farmer with a “clenched fist,” as Farmer had claimed. (Id.)

                                       2
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.167 Filed 04/20/21 Page 9 of 18




Indeed, Farmer acknowledged that Seymore was seeking a supervisory

officer before Farmer’s false allegation landed Seymore in segregation. (Id.)

      Seymore filed a complaint under 42 U.S.C. § 1983, alleging that

Farmer’s actions violated his First Amendment rights. (Verified Complaint,

ECF No. 1, PageID.1). Defendant Farmer moved for summary judgment.

(Defendant Farmer’s Motion for Summary Judgment, ECF No. 8, PageID.19). The

Court denied defendant Farmer’s motion. (Order Denying Defendant’s Motion

for Summary Judgment, ECF No. 13, PageID.87). Subsequently, the Court

appointed counsel to represent Seymore. (Order of Assignment of Counsel,

ECF No. 15, PageID.90). The Court has not yet set a trial date, but the final

pre-trial conference is scheduled for May 5, 2021. (Stipulated Order Extending

Court’s Case Management Order, ECF No. 36, PageID.157).

                          Standard of Review
      Whether to admit or exclude evidence is generally within a trial court’s

discretion. Branham v. Thomas M. Cooley Law School, 689 F.3d 558, 562 (6th

Cir. 2012).




                                      3
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.168 Filed 04/20/21 Page 10 of 18




                                 Argument
      The Prison Litigation Reform Act prohibits prisoners from filing

federal civil actions for mental or emotional injuries without a prior showing

of physical injury. See 42 U.S.C. § 1997e(e). But that does not preclude

evidence of damages relating to constitutional injuries. Because the Act

allows plaintiffs to seek compensatory and punitive damages for

constitutional injuries, evidence concerning those injuries is relevant and

admissible.

   1. Under section 1997e, plaintiffs may seek compensatory and
      punitive damages for constitutional injuries.

      Plaintiffs are entitled to seek compensatory and punitive damages

when they have suffered a constitutional injury, even without a showing of

physical injury. See King v. Zamiara, 788 F.3d 207, 213-214 (6th Cir. 2015). In

King, the plaintiff alleged a First Amendment claim based on a retaliatory

transfer to a higher-security facility. Although the King court noted that

“[t]he award must focus on the real injury sustained and not on . . . the

abstract value of the constitutional right at issue,” it affirmed an award of

compensatory damages for a First Amendment violation—even without




                                       4
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.169 Filed 04/20/21 Page 11 of 18




physical harm. Id. at 214 (citing Piver v. Pender Cnty. Bd. of Educ., 835 F.2d

1076, 1082 (4th Cir. 1987)).

      The Court held that King could recover compensatory damages. King,

788 F.3d at 213 (“King can recover compensatory damages for the violation

of his First Amendment rights in this case.”). It also held that King could

seek punitive damages. Id. at 216-217 (“Thus, a defendant who has been

found liable for First Amendment retaliation has engaged in conduct that

warrants consideration of an award of punitive damages.”). Since King, this

court and other district courts in the Sixth Circuit have recognized that, even

absent a physical injury, a plaintiff “can receive compensatory and punitive

damages” for constitutional violations. See Mee v. Johnson, No. 19-12325, 2020

WL 1551139, at *1 (E.D. Mich. April 1, 2020).

      The Sixth Circuit Court of Appeals recently re-affirmed the availability

of compensatory and punitive damages for purely constitutional injuries. See

Small v. Brock, 963 F.3d 539, 543 (6th Cir. 2020). In Small, the court permitted

a prisoner to pursue punitive damages where his Eighth Amendment rights

were violated. Id. at 543. The court recognized that § 1997e(e) “says nothing

about claims brought to redress constitutional injuries, which are distinct

from mental and emotional injuries.” Id. at 544 (citing King, 788 F.3d at 213).
                                       5
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.170 Filed 04/20/21 Page 12 of 18




Indeed, the Brock court recognized that “[m]ost of our sister circuits also

interpret [§ 1997e(e)] to allow claims for punitive damages.” Id. at 543.

      Although Small declined to apply King to award compensatory

damages for alleged Eighth Amendment violations, the Small court

reaffirmed King’s holding allowing compensatory damages for “injuries to

First Amendment rights.” Id. at 544 (citing King, 788 F.3d at 212). The court

“declined to resolve whether this holding of King extends to compensatory

damages for alleged Eighth Amendment violations.” Id. (emphasis added).

And the only reason the court gave for declining to address this issue was

“the absence of adversarial briefing.” Id. Post-Brock, the rule from King

allowing compensatory damages for constitutional violations still stands.

      Like the plaintiff in King, Tommie Seymore alleges a constitutional

harm—namely, the violation of his rights under the First Amendment.

(Verified Complaint, ECF No. 1, PageID.3). The Sixth Circuit Court of Appeals

has recognized that a federally incarcerated prisoner enjoys the First

Amendment right to seek a supervisor to report misconduct by prison

guards. Siggers-El v. Barlow, 412 F.3d 693 (6th Cir. 2005) (denying qualified

immunity to a prison guard who unlawfully retaliated against a prisoner for

exercising his First Amendment rights). Siggers-El clarified that a prisoner’s
                                      6
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.171 Filed 04/20/21 Page 13 of 18




act of filing a complaint with a prison supervisor is a constitutionally

protected activity because those acts are part of a prisoner’s “attempt to

access the courts.” Id. at 699. And it is well-recognized that prisoners have a

constitutional right to access the courts to challenge their sentence. Thaddeus-

X v. Blatter, 175 F.3d 378, 391 (6th Cir. 1999) (citing Lewis v. Casey, 518 U.S.

343, 355, 116 S. Ct. 2174 (1996)).

      By seeking a supervisor to lodge a complaint against Farmer, Seymore

was exercising his First Amendment right to access the courts to address

misconduct. Farmer’s act of placing Seymore in segregation under false

pretenses was retaliation against Seymore’s constitutionally protected

activity. Farmer even boasted to other prisoners that he placed Seymore in

segregation because Seymore sought a supervisor. (Verified Complaint, ECF

No. 1, PageID.2). As a result, Seymore has suffered a constitutional harm,

and Section 1997e(e) does not prevent him from seeking emotional and

punitive damages simply because he was not physically injured.

   2. Applying § 1997e(e) to prevent prisoners from seeking redress
      for purely constitutional injuries is unconstitutional.

      King is controlling, and it allows Seymore to seek compensatory and

punitive damages for his constitutional injury. It’s worth noting that this rule


                                       7
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.172 Filed 04/20/21 Page 14 of 18




is necessary as a constitutional matter. As this Court has held, applying the

Act to prevent suits for constitutional injuries would be unconstitutional.

Siggers-El v. Barlow, 433 F. Supp. 2d 811 (E.D. Mich. 2006).

      In Siggers-El, the U.S. District Court for the Eastern District of Michigan

held that applying § 1997e(e) to bar prisoner claims for mental or emotional

injury without a prior showing of physical injury “would effectively

immunize officials from liability for severe constitutional violations.” Id. at

816. The court noted that § 1997e(e) allows plaintiffs to recover unlimited

emotional damages if they can prove more than a de minimis physical injury.

Id. Considering that First Amendment violations (and constitutional

violations in general) rarely result in physical injuries, the court reasoned

that constructing § 1997e(e) against recovery of damages “would defeat

congressional intent and render constitutional protections meaningless.” Id.

(citing Percival v. Rowley, 2005 WL 2572034 (W.D. Mich. 2005) (unpublished)

(Enslen, J.)).

      The same rationale holds true for this case. Tommie Seymore didn’t

sustain a physical injury, but Farmer violated his First Amendment rights.

Without the ability to pursue compensatory and punitive damages, Seymore

would have no avenue for redress.
                                       8
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.173 Filed 04/20/21 Page 15 of 18




   3. Evidence relating to Seymore’s emotional and punitive
      damages are relevant and admissible under Fed. R. Evid. 402.

      King allows Seymore to seek compensatory and punitive damages, and

Siggers-El demonstrates that these damages are necessary as a constitutional

matter. The only remaining question is whether evidence concerning

compensatory and punitive damages is admissible under Federal Rule of

Evidence 402.

      Rule 402 states that relevant evidence is admissible unless the U.S.

Constitution, a federal statute, other rules of evidence, or other rules

prescribed by the Supreme Court provide otherwise. See FRE 402. Section

1997e(e) does not prevent prisoner-plaintiffs from seeking compensatory or

punitive damages for purely constitutional injuries. Therefore, evidence

relating to those injuries is admissible under Rule 402.

      When calculating punitive damages, the Supreme Court has identified

several “reprehensibility” factors to consider. These include whether:

            (1) the harm caused was physical as opposed to
            economic; (2) the tortious conduct evinced an
            indifference to or a reckless disregard of the health
            or safety of others; (3) the target of the conduct had
            financial vulnerability; (4) the conduct involved
            repeated actions or was an isolated incident; and (5)
            the harm was the result of intentional malice, trickery, or
            deceit, or mere accident.

                                        9
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.174 Filed 04/20/21 Page 16 of 18




State Farm v. Campbell, 538 U.S. 408, 419 (1996) (emphasis added). Under

these factors, Farmer’s state of mind when violating Seymore’s First

Amendment rights is relevant to the calculation of punitive damages.

      Evidence of Farmer’s ability to pay a judgment is also relevant and

admissible. The Sixth Circuit Court of Appeals has held that ability-to-pay

evidence is relevant and admissible where the defendant seeks to admit such

evidence to reduce the amount of punitive damages awarded. Johnson v.

Howard, 24 Fed. Appx. 480, 488 (6th Cir. 2001) (unpublished). Although

Johnson held that the burden fell on the defendant to produce evidence of his

ability to pay, it does not preclude that a plaintiff from offering that kind of

evidence. Id.

      Similarly, evidence of Seymore’s mental and emotional injuries is

relevant to the amount of punitive damages. In Siggers-El, this court

admitted evidence of mental and emotional injuries in a prisoner-plaintiff’s

§ 1983 claim because “such evidence was relevant to the egregiousness of

Defendant’s conduct as well as punitive damages.” Siggers-El, 433 F. Supp.

2d at 817. As the Supreme Court wrote in Campbell, “The most important

indicium of the reasonableness of a punitive damages award is the degree of


                                      10
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.175 Filed 04/20/21 Page 17 of 18




reprehensibility of the defendant’s conduct.” Campbell, 538 U.S. at 419. The

effect of Farmer’s actions on Seymore is directly related to the

reprehensibility of his actions—and, therefore, the appropriate amount of

damages.

      Because evidence concerning emotional and punitive damages is

admissible under Rule 402, the Court should allow Seymore to introduce

evidence relating to Farmer’s state of mind, his ability to pay a judgment,

and the effects of his unconstitutional actions on Seymore.

                                Conclusion
      For the foregoing reasons, Seymore respectfully requests that the

Court enter an order permitting him to introduce evidence relevant to

punitive and emotional damages under Fed. R. Evid. 402.

                                    Respectfully submitted,

                                    Collins Einhorn Farrell PC

                                    By: /s/Trent B. Collier
                                    Trent B. Collier (P66448)
                                    Kari L. Melkonian (P72012)
                                    Attorneys for Plaintiff
                                    4000 Town Center, 9th Floor
                                    Southfield, MI 48075
                                    (248) 355-4141
                                    Trent.Collier@CEFLawyers.com
 Dated: April 20, 2021              Kari.Melkonian@CEFLawyers.com

                                      11
Case 2:16-cv-13808-DPH-PTM ECF No. 37, PageID.176 Filed 04/20/21 Page 18 of 18




                        CERTIFICATE OF SERVICE


      I hereby certify that on April 20, 2021, a copy of the foregoing

instrument was electronically filed with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to all parties to

the above cause to each of the attorneys of record herein.


                                    Respectfully submitted,

                                    Collins Einhorn Farrell PC

                                    By: /s/Trent B. Collier
                                    Trent B. Collier (P66448)
                                    Kari L. Melkonian (P72012)
                                    Attorneys for Plaintiff
                                    4000 Town Center, 9th Floor
                                    Southfield, MI 48075
                                    (248) 355-4141
                                    Trent.Collier@CEFLawyers.com
                                    Kari.Melkonian@CEFLawyers.com




                                      12
